19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32        Main Document
                                                  Pg 1 of 44



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ x
In re:                                                        :
                                                              :   Chapter 7
ORLY GENGER,                                                  :
                                                              :   Case No.: 19-13895 (JLG)
                                 Debtor.                      :
                                                              :
------------------------------------------------------------- x

                       CHAPTER 7 TRUSTEE’S OBJECTION TO SAGI GENGER’S
                        AMENDED MOTION TO DISMISS BANKRUPTCY CASE

TO:      THE HONORABLE JAMES L. GARRITY
         UNITED STATES BANKRUPTCY JUDGE

         Deborah J. Piazza, the successor chapter 7 trustee (the “Trustee”) of the estate of Orly Genger

(the “Debtor”) hereby submits this objection (the “Objection”) to Sagi Genger’s (“Sagi”) amended

motion to dismiss this bankruptcy case (the “Motion” or “Motion to Dismiss”). In support of the

Objection, the Trustee respectfully states as follows:

                                       PRELIMINARY STATEMENT

         1.         Sagi is simply unable to satisfy his burden of demonstrating “cause” to dismiss the

Debtor’s chapter 7 case. The parties in this case engaged in exhaustive discovery resulting in the

exchange of thousands of pages of documents as well as the deposition testimony of over a dozen

witnesses, at significant expense to the estate. In conducting this exercise, not only did Sagi fail

to prove his allegations, by refusing to withdraw the Motion to Dismiss and proceeding with

discovery, he established a process by which the Trustee and other parties learned of certain

{Client/086201/1/02402283.DOCX;1 }
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32       Main Document
                                                  Pg 2 of 44


misconduct on the part of Sagi, Dalia, and Michael Oldner, individually and in his capacity as

trustee of the Orly Genger 1993 Trust, and entitles that they control (collectively, the “Sagi

Group”) that potentially give rise to additional claims that may be pursued against them, absent a

resolution thereof.

         2.         The Trustee will touch on some of the allegations raised by Sagi that have been

refuted through discovery, but in the interest of avoiding duplication with the Debtor’s objection

to the 25-page Motion to Dismiss (the “Debtor’s Objection”) [See Dkt. No. 425] which details the

factual defenses to the allegations, subject ultimately to the evidentiary record to be established at

the upcoming hearing, the Trustee will highlight the benefits that the continued administration of

this case will have to the estate, and its creditors, as well as the judicial system as a whole.

         3.         This case has been pending for almost two years, in large part, due to the

significant discovery that was required in connection with Sagi’s Motion to Dismiss. Since the

transfer of this case to New York in December 2019, the Court has held numerous conferences

and resolved or determined various disputes amongst the parties, including numerous discovery

issues. Further, this Court has also reviewed thousands of pages of documents pertaining to this

case, including as cited in the Motion to Determine the Inapplicability of the Automatic Stay to

various actions pertaining to the Disputed Settlement Proceeds (defined below) and various

objections thereto. See Dkt. Nos. 258, 273, 274, and 280. This Court also reviewed a similar

amount of paper and heard oral argument in Dalia’s constructive trust action pending in this Court,

which pertain, in part, to the Disputed Settlement Proceeds. See Adv. Pro. Dkt. Nos. 12, 13, 14,

16, 24, 25, 27, 28, and 29, 36 and 38. Moreover, in getting familiar with the facts, aside from the

documents provided to the Court by the various parties in connection with pending matters before

the Court, this Court has noted the “long history of litigation” and indicated that the Court reviewed

some of the prepetition history of litigation. See Memorandum Decision and Order Granting


{Client/086201/1/02402283.DOCX;1 }                 2
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32      Main Document
                                                  Pg 3 of 44


Motion For Protective Order, p. 2., fn. 2. Lastly, the Court’s institutional knowledge of this case

will become even more informed at the upcoming evidentiary hearing. In sum, this Court is in the

best position to continue to oversee this case and various duplicative and derivative actions to their

eventual conclusion.

         4.         Through the filing of this bankruptcy case, an automatic stay went into effect to

prevent a “race to the Courthouse” and allow the Trustee, in one collective proceeding, to

administer this case for the benefit of all creditors with allowed claims. Dismissal, on the other

hand, will lead to continuation of numerous pending stayed actions, as well as the likelihood of

commencement of future actions in multiple courts for years on end, to the detriment of the

creditors and the judicial system as a whole while, at the same time, deprive what appears to be an

“honest and unfortunate debtor” a discharge.

         5.         Remarkably, one of the basis claimed by Sagi in support of his Motion to Dismiss

is dismissal will allow him, and him alone, to continue his “turnover” proceeding in District Court.

However, this argument is backwards. Indeed, this is actually yet another reason for the Court to

maintain jurisdiction as this Court should not dismiss a case to allow one disputed creditor, Sagi,

to potentially collect on the Disputed Settlement Proceeds, to the exclusion of other creditors in

the case. Instead, in furtherance of the basic bankruptcy policy of “equality of distributions”, all

creditors are entitled to share pro rata in the fruits of any recovery from the Disputed Settlement

Proceeds and any other assets recovered in this case.

         6.         Through the Trustee’s recent Settlement Motion with the Settling Parties, the

Trustee has reached a settlement to resolve risky and uncertain litigation for over $2.55 million in

cash, plus future potential recoveries, for the benefit of all creditors. This settlement is an

important step in the case and the Trustee hopes will provide a framework to lead to a global

resolution of numerous disputes by and between the Sagi Group and the Settling Parties (defined


{Client/086201/1/02402283.DOCX;1 }                 3
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32       Main Document
                                                  Pg 4 of 44


below). While the Trustee is confident that the Court will find that the settlement is fair and

reasonable and in the best interests of the estate such that it will be approved under the relevant

Rule 9019 standards, the Sagi Group will have an opportunity to be heard in response to the

Settlement Motion. Certainly, dismissal, which would cause the estate to abruptly lose this certain

substantial recovery from the Disputed Settlement Proceeds, would cause significant harm to the

estate and creditors.

         7.         The Trustee has always viewed the Motion to Dismiss as an inappropriate leverage

play and litigation tactic that Sagi could “bargain” away if the Trustee “played ball” with the Sagi

Group and simply let them continue the numerous actions pending and relating to the Disputed

Settlement Proceeds. Sagi’s “strategy” in this regard did not work and unfortunately, caused the

estate to incur significant legal fees and delays associated with discovery and related disputes and

preparation for the upcoming evidentiary hearing that could otherwise have been avoided.

         8.         The Trustee respectfully submits that the Court should deny the Motion to

Dismiss.

                                       RELEVANT BACKGROUND

         9.        On July 12, 2019 (the “Petition Date”), the Debtor commenced a chapter 7 case by

filing a voluntary petition for relief under chapter 7 of the Bankruptcy Code in the Western District

of Texas (the “Texas Bankruptcy Court”). The Honorable Tony M. Davis was the bankruptcy

judge assigned to this case (“Judge Davis”).

         10.       On July 12, 2019, Ron Satija was appointed as the chapter 7 trustee of the Debtor’s

case (the “Prior Trustee”).

         11.       On August 25, 2019, the Prior Trustee held and closed the section 341(a) meeting

of creditors, attended by the Debtor and counsel to all creditors in the case.

         12.       On September 13, 2019, Sagi Genger (“Sagi”), the Debtor’s brother, filed a motion


{Client/086201/1/02402283.DOCX;1 }                 4
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32        Main Document
                                                  Pg 5 of 44


to dismiss the Debtor’s bankruptcy case or alternatively transfer venue to this Court (the “Original

Motion to Dismiss/Transfer Venue”).

         13.       Prior to this case being transferred to this Court, on September 27, 2019, the Prior

Trustee entered into a settlement (the “Prior Trustee’s Settlement”) with ADBG, the Genger

Litigation Trust, David Broser, Arnold Broser, Arie Genger, Eric Herschmann, Kasowitz Benson

Torres LLP, and the Debtor, which among other things, provided for, full resolution of the

Potential Avoidance Action and the Homestead for consideration totaling $1.2 million, and which

anticipated the retention by the Prior Trustee of Kasowitz Benson Torres LLP as counsel to the

Prior Trustee on a contingency basis to pursue the Debtor’s estate’s causes of action against the

Sagi Group.

         14.       Judge Davis determined that he would not hear the dismissal aspect of the Original

Motion to Dismiss/Transfer Venue, but that he would instead ascertain whether the case should be

transferred to this Court. Judge Davis also determined that he would not consider the Prior

Trustee’s Settlement until after deciding whether to transfer the case. During the same hearing,

Judge Davis stated that he viewed dismissal as a “non-starter” and suggested that in light of all of

the litigation between the parties “this sounds like it ought to be in bankruptcy somewhere”. See

Dkt. No. 140 (October 23rd Transcript, p. 6:15-16; p. 7:2:4). Notably, Judge Davis also called the

three coordinated briefs in support of the Motion to Dismiss “excessive advocacy”, stating “all

three of these briefs, there’s more time spent calling Orly a liar than there is on the substance of

the motion. That kind of pleading I find disgusting and unhelpful.” See Dkt. No. 140 (October 23rd

Transcript, p. 8:13 to 8:15).

         15.       Against this backdrop, two weeks later, Judge Davis transferred the case and stated

“I leave the alternative relief of dismissal for a decision by the Southern District of New York,”.

See Dkt. No. 173 (November 5th Transcript, p. 10:13 – 10:14). By order entered on November 7,


{Client/086201/1/02402283.DOCX;1 }                 5
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32    Main Document
                                                  Pg 6 of 44


2019, Judge Davis transferred this case to this Court. See Dkt. No. 168. Notwithstanding the

transfer, the case did not arrive on this Court’s docket until December 10, 2019. In light of the

transfer of the case, Judge Davis never held a hearing on the Prior Trustee’s Settlement, nor was

the matter fully briefed.

         16.       On December 11, 2019, Deborah J. Piazza was appointed as the successor Chapter

7 trustee in this case.

         17.       On April 24, 2020, Sagi filed his amended and updated Motion to Dismiss (the

“Motion to Dismiss”). See Dkt. No. 239. The Court has scheduled a hearing on June 16, 17, and

18, 2021 to consider the Motion to Dismiss.

         18.       On May 28, 2021, the Trustee filed the Motion for An Order Pursuant to Rule 9019

of the Federal Rules of Bankruptcy Procedure (A) Approving Settlement Agreement and (B)

Grantign Related Relief (the “Settlement Motion”). The Settlement Motion seeks approval of a

Settlement Agreement dated May 26, 2021 (the “Settlement Agreement”) between the Trustee,

solely in her capacity as successor chapter 7 trustee and not in her individual capacity, on the one

hand, and Orly Genger (“Orly”), Eric Herschmann (“Herschmann”), Arie Genger (“Arie”),

Kasowitz Benson Torres LLP (“Kasowitz”), individually and in its capacity as escrow agent,

David Broser (individually and in his capacity as trustee of the Genger Litigation Trust) and David

Broser and related entities ADBG LLC and Tedco, Inc. (collectively, the “Broser Parties”), Lance

Harris, solely in his capacity as trustee of the Genger Litigation Trust (“Harris”), the Genger

Litigation Trust, Michael P. Bowen, and Claims Pursuit Inc. (“Estate Claims Assignee”, together

with Orly, Herschmann, Arie, KBT, the Broser Parties, Harris and Bowen, the “Settling Parties”).

The Settlement Agreement resolves, among other things, the significant disputes regarding

litigation claims against the Settling Parties seeking the return of approximately $32.3 million

arising from a certain 2013 settlement agreement (the “Disputed Settlement Proceeds”).


{Client/086201/1/02402283.DOCX;1 }                 6
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32          Main Document
                                                  Pg 7 of 44


                                 OBJECTION TO MOTION TO DISMISS

         19.       As demonstrated herein and at the upcoming hearing, it would be in the best

interests of the Debtor’s estate and creditors for this case to remain in Chapter 7. The Motion to

Dismiss should therefore be denied.

A.       It Does Not Appear that the Bankruptcy Case
         Was Filed in Bad Faith Or That Sagi Has
         Otherwise Satisfied the Standards For Dismissal

         20.       In Sections A through C of the Motion to Dismiss with references to certain

allegations in the Background section of the Motion to Dismiss, Sagi claims that this case should

be dismissed as a bad faith filing. Among other things, Sagi alleges the following acts or omissions

that he claims supports his position:

                            (a) The filing was in response to Sagi’s judgment and she has made no
                                attempt to pay any of her judgment to him (see Motion to Dismiss, ¶
                                48);

                            (b) Orly continues to live the lifestyle of a very rich woman (Id);

                            (c) Orly transferred assets right before filing for bankruptcy to her lawyer
                                who could not account for it (see Motion to Dismiss, ¶¶36 and 48);

                            (d) Orly made “special arrangements” for the benefit of her father, Arie,
                                and her husband, Eric Herschmann (see Motion to Dismiss, ¶¶ 28, 29,
                                33, 34, and 48), and

                            (e) Orly was “less than candid in her bankruptcy schedules” (see Motion to
                                Dismiss, ¶¶ 39, 40, 53 -59.

         21.       First, the Court should quickly reject Sagi’s argument that the case should be

dismissed because Orly decided to file for bankruptcy to avoid collection on Sagi’s judgment. As

the court is well aware, it is very common for a debtor to file for bankruptcy protection when such

debtor has been financially ruined by a creditor’s judgment and enforcement efforts. Thus, this

reason alone does not support a dismissal of this case for bad faith or otherwise.

         22.       Second, in numerous filings in this Court, including the Motion to Dismiss, Sagi


{Client/086201/1/02402283.DOCX;1 }                  7
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32      Main Document
                                                  Pg 8 of 44


alleges, with no legal support, that because Orly’s husband is “wealthy”, Orly “lives the lifestyle

of a very rich woman”, thereby suggesting she does not have a right to file for bankruptcy

protection. This is not a supportable basis for dismissal. Whether Hershmann is wealthy or not,

thereby allowing Orly an opportunity to live in a home and have her current and future household

expenses paid by him is not a basis for the Court to dismiss the bankruptcy case of a debtor that

seeks a fresh start from her debts.           When they got married, Orly’s debts did not become

Herschman’s debts.

         23.       Third, the documents produced during discovery, including depositions of Orly and

Lance Harris reflect that Orly liquidated less than $100,000 in bank accounts in August 2018 and

sent such monies to Lance Harris, who was responsible for paying her past due legal fees and

expenses to various law firms. In addition, through the depositions of Orly, Arie, Herschmann,

Harris, and Kasowitz, among others, there was no evidence to support the assertions by Sagi that

Herschmann’s note for $2,000,000 relating to an actual payment he made to Kasowitz in late

December 2016 was fabricated or that Kasowitz worked “pro bono” on all of its litigation matters.

See also generally, Kasowitz’s Motion For Sanctions Against Sagi Genger and His Counsel dated

April 19, 2021 [Dkt. No. 411]. Likewise, Orly, Arie and Lance Harris, among others, testified that

Arie loaned millions of dollars to Orly, as reflected in a Consolidated Note between Arie and Orly,

and that the parties signed prior notes as reflected in the Whereas clauses of the Consolidated Note.

The transcripts of the deposition testimony of the various witnesses who were deposed will be part

of the record.

         24.       It appears that many of the allegations made by Sagi in the Motion to Dismiss were

as unsupportable as Sagi’s allegations made earlier in the bankruptcy case while in Texas as it

related to Orly’s alleged bank account in Israel. The Court has already determined that “Sagi’s

concern about undisclosed bank accounts allegedly maintained by Orly in Israel were not well


{Client/086201/1/02402283.DOCX;1 }                 8
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32          Main Document
                                                  Pg 9 of 44


taken. Orly did not fail to disclose a bank account in Israel, and there was no substance to Sagi’s

assertions to the contrary. The evidence that Orly produced to the Texas Trustee after she learned

of the Orly Report showed that she had no accounts at Bank Hapoalim and only had one account

that was opened at that branch and closed several years pre-petition.” See Court’s Memorandum

and Decision dated February 9, 2021, p. 16. [Dkt. No. 348].

         25.       Finally, notwithstanding various allegations about Orly’s failure to list the potential

claim relating to the Disputed Settlement Proceeds on her schedules, including the existence of the

$15 million in notes, it is quite clear from a review of the Schedules that on page 3 therein, there

was a reference as follows: “Third parties have asserted, in various litigation, that Debtor may have

claims that the Debtor does not believe exist”. See Schedules [Dkt. No. 20]. Further, in question

33 of the Schedules, Orly goes on to list all of the third party claims that exist, including those that

refer to the Disputed Settlement Proceeds (which includes the pursuit of claims in connection with

the “Trump Notes”). Thus, there was no effort to mislead or hide the existence of this asset from

any creditors, notwithstanding there is not a separate specific entry in her Schedules relating to the

“Trump Notes”. Clearly, this dispute concerning the rightful owner of the Disputed Settlement

Proceeds is a significant issue in the case, and Sagi knew all about it, well before the filing of the

bankruptcy case, as he started the “turnover” action to attempt to recover the Disputed Settlement

Proceeds for himself prior to the commencement of the case. See e.g. Dilworth v. Boothe, 69

F.23d. 621, 624 (5th Cir. 1934) (“the charge that [debtor] concealed assets and made a false oath

because the equity he believed he had in the royalties was not mentioned in the schedules is

technical in the extreme. The reasons for denying a discharge to a bankrupt must be real and

substantial, not merely technical and conjectural”). This is not a case, like some of the cases cited

by Sagi in his Motion to Dismiss, where a debtor failed to disclose an asset in his or her schedules

in order to intentionally hide its existence from his or her creditors.


{Client/086201/1/02402283.DOCX;1 }                 9
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32        Main Document
                                                 Pg 10 of 44


         26.       Aside from Sagi’s unsupportable factual allegations, some of which were outlined

above, and the balance of which have been addressed in the Debtor’s Objection or will be

addressed at the upcoming evidentiary hearing, Sagi’s case law support fares no better.

         27.       In In re Uddin, 196 B.R. 19, 21 (Bankr. S.D.N.Y.), on the motion of the Office of

the United States Trustee, pursuant to section 707(b) of the Bankruptcy Code (which is not relevant

herein), this Court dismissed the case of a debtor that incurred consumer credit card debt of over

$170,000 in the 6 month period prior to filing for bankruptcy, including a total of approximately

$60,000 of indebtedness in connection with debtor’s purchase of airline tickets, clothing, jewelry,

toys, a radio, a television, a microwave oven, a body massage machine, perfumes and cosmetics.

The facts of that case warranted the relief of dismissal. Such is not the case here as the Debtor

does not have consumer debt and has no income to pay Sagi on account of his $3.2 million

judgment or any other creditor.

         28.       Sagi also cites to a number of inapplicable cases in which a debtor, not a creditor,

seeks to dismiss an involuntary petition filed against such debtor. See In re Murray, 900 F.3d 53,

61 (2d Cir. 2018) (finding that debtor that did not want to be in bankruptcy court was better served

by dismissal of involuntary petition and that creditor could not show it will be substantially

prejudiced by relying on New York remedies) (emphasis added); In re Selectron Mgmt. Corp.,

2010 WL 3811863 at *6 (Bankr. E.D.N.Y. Sept. 27, 2010) (dismissing involuntary petition at

request of debtor). As such, these cases are distinguishable on this basis alone.

         29.       In addition, Sagi also seems to misunderstand the purposes of Chapter 11 versus

Chapter 7 and differences between corporations and individuals. In re Syndicom Corp., 268 B.R.

26 (Bankr. S.D.N.Y. 2001), cited by Sagi, is a chapter 11 case in which a landlord was granted

stay relief in response to a bad faith filing of a corporate shell debtor. Another case, In re Loco

Realty Corp. 2009 WL 2883050 at *7 (Bankr. S.D.N.Y. June 25, 2009), involved a corporate


{Client/086201/1/02402283.DOCX;1 }                10
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32       Main Document
                                                 Pg 11 of 44


debtor in which the Court found that “a debtor who has no realistic chance of successfully

emerging from bankruptcy should no longer be in chapter 11”. CT-C 9th Ave Partnership, 113

F.3d 1304 (2d Cir. 1997), which is quoted in Loco Realty, and cited in the Motion to Dismiss, is

also a chapter 11 case that has no bearing on this Chapter 7 case, which is governed by section

707(a)’s standard for dismissal.

         30.       In re Krueger, 812 F.3d 365, 374-75 (5th Cir 2016), a non-binding decision cited by

Sagi, is a good example of an extreme case in which bad faith dismissal may be appropriate. In

Krueger, the debtor, who was the only witness at the evidentiary hearing in support of his petition,

was found not to be credible, and was accused of false testimony and filings, misleading the court

and threatening a witness, among other things. In determining to dismiss the case, the Court also

found that “the automatic stay…has no place being deployed against honest but unfortunate

creditors who stand in the path of a dishonest bankrupt”. Id. at 373. This Court will, at the

upcoming evidentiary hearing, determine whether Sagi is the “honest but unfortunate creditor”

that was victimized in the Krueger case.

         31.       Sagi also suggests that this Court must evaluate his Motion in the context of a

fourteen factor bad faith test articulated in In re Lombardo, 370 B.R. 506, 512 (Bankr. E.D.N.Y.

2007). It is questionable that this factoring test is the applicable standard commonly used by lower

courts in the Second Circuit, but even if it were, the facts and circumstances of the Lombardo case

clearly are distinguishable from the case at hand. First, the debtor in Lombardo decided not to

appear at an evidentiary hearing as a witness, whereas here, Orly has been deposed twice during

this case and is expected to testify at the upcoming hearing in support of her bankruptcy petition.

Further, the chapter 7 trustee in Lombardo did not take a position on the motion to dismiss and had

instead filed a notice of no distribution, finding that there were no assets to administer. Id. at 507.

In this case, the Trustee disputes the Motion to Dismiss and has entered into a settlement for $2.55


{Client/086201/1/02402283.DOCX;1 }                11
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32      Main Document
                                                 Pg 12 of 44


million, and the estate stands to gain significantly more in litigation recoveries from the Estate

Claims Assignee, to the extent of any recoveries on the Estate Claims being sold as part of the

Settlement Agreement before the Court. Further, in Lombardo, the Court found the debtor’s

conduct in misleading her former lawyer in providing services to the debtor in a divorce proceeding

with no intent to pay, despite the lawyer’s good services, was “egregious” and constituted bad faith

on the part of the debtor in that case. Id at 513.

  B.        Ironically, Even if Some of Sagi’s Allegations Are Proven, They
            Support Keeping the Case in Chapter 7 To Redress the Alleged Wrongs

         32.       As noted, there does not appear be evidentiary support for numerous allegations in

the Motion to Dismiss but even if some of the allegations were proven true, it does not necessarily

follow that dismissal would be in the best interest of the estate and creditors.

         33.       For instance, Sagi has accused Arie of “backdating” notes relating to loans by him

to his daughter Orly and that Kasowitz worked “pro bono” for years on various litigation matters.

Sagi goes further to highlight that Arie obtained a UCC lien in the one year period of the

bankruptcy filing in connection with such alleged obligations. Sagi claims that if these allegations

are true, the case should be dismissed.

         34.       The Trustee disagrees with Sagi’s assertions. The Bankuptcy Code includes a

claims reconciliation process that allows a trustee to review claims to ascertain whether they

should be allowed or disallowed or subordinated. In addition, the Bankruptcy Code provides that

an insider party that files a lien within the one year of bankruptcy could have such lien avoided as

a preferential transfer under section 547 of the Bankruptcy Code. Indeed, through the proposed

Settlement Agreement, while the Trustee has not yet reconciled and fixed Arie’s claim, the Trustee

has already negotiated away his lien for the benefit of the estate. And, if the proposed Settlement

Agreement is not ultimately approved by the Court, the Trustee could otherwise easily file an

adversary proceeding to avoid such lien for the benefit of the estate, and to the extent the claim is

{Client/086201/1/02402283.DOCX;1 }                12
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32                     Main Document
                                                 Pg 13 of 44


“inflated”, an objection to the proof of claim can be filed.1 Dismissal of the bankruptcy case, on

the other hand, would require Sagi to prove an actual or constructive fraudulent transfer occurred

in favor of Arie, if Sagi sought to avoid such lien, through his enforcement actions.

         35.       Likewise, while the Trustee has seen no evidence to support Sagi’s assertion that

Kasowitz worked pro bono for years such that its $1.57 million claim was not valid, if the Court

were to agree with Sagi’s assertions, this case need not be dismissed on that basis alone. Instead,

all other creditors, including Sagi, would benefit from a claim objection under section 502(b)(1)

of the Bankruptcy Code that could quickly decide the issue, rather than lengthier and more costly

state court litigation to set aside a disputed claim (or any subsequent payments of Orly’s property

outside of bankruptcy to a so-called disputed creditor). The same holds true for any creditor that

has asserted an invalid proof of claim.

         36.       Moreover, aside from preferential transfer law, which is a Bankruptcy Code created

remedy that does not exist outside of bankruptcy, keeping this case in chapter 7 will also keep

open the possibility that certain claims can be equitably subordinated under section 510(c) of the

Bankruptcy Code. All of these tools and remedies (and others) available to a trustee under the

Bankruptcy Code could be utilized here to maximize value for creditors in this case.

         37.       Finally, like the Prior Trustee, the Trustee believes that this case should remain in

Chapter 7 to allow the Trustee to maximize value for the benefit of the bankruptcy estate and its

creditors.

    C.       This is Not a Two Party Dispute Justifying
             Dismissal Under Section 305(a)(1)

         38.       In Section D of the Motion to Dismiss, Sagi claims that this is a “two party” dispute


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 Likewise, Sagi’s defective abstract of judgment, which does not create a lien under Texas law, such that it can be
voided for this reason alone, is also subject to being avoided as a preferential transfer having been filed in the one
year period before the bankruptcy petition was filed. Efforts to resolve Sagi’s inflated proof of claim claim and the
Trustee’s potential counterclaims have not been successful because Sagi has frequently advised that any resolution
of his claim would require the pursuit of a claim pertaining to the Disputed Settlement Proceeds.

{Client/086201/1/02402283.DOCX;1 }                      13
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32        Main Document
                                                 Pg 14 of 44


that justifies dismissal under section 305(a)(1) of the Bankruptcy Code, stating among other things,

“there has been no showing of any financial pressure on the Debtor by any creditor other than Sagi,

making this essentially a two-party dispute.” See Motion to Dismiss, 61. This statement is

unsupported by any case law, and as the Court knows, this is not a “two party” dispute.            Sagi

implicitly acknowledges this fact by referring to this matter as a “two-party dispute between two

family factions”. See Motion to Dismiss, ¶ 61. A total of 14 proofs of claim have been filed in the

case. The Settling Parties are compromised of, among others, Arie, Herschmann, ADBG LLC,

the Genger Litigation Trust, and Kasowitz, a total of five parties that have filed claims in the case.

Meanwhile, the Sagi Group is comprised of Sagi, TPR, Dalia, D&K GP LLC, and the Orly Genger

Trust, a total of five parties that have filed proofs of claim in this case.

         39.       Sagi goes on to say that “the involvement of every other party or alleged creditor is

derivative of, and would be resolved as part of, the adjudication by the District Court of that two-

party dispute”. Id. This statement is also unsupported and is rebutted by well-established law that

the best forum for determining a resolution of derivative claims is the bankruptcy court. See

generally, Settlement Motion, ¶¶ 147 to 206) (citing numerous cases that stay or otherwise enjoin

duplicative and derivative claims).

  D.        Sagi’s Actions and Potential Claims Against Him Should Be Considered
            By the Court As It Exercises Its Discretion on the Relief Requested

         40.       The Trustee respectfully submits that as the Court considers the evidence at the

upcoming hearing, the Court should consider whether Sagi’s actions vis a vis the Debtor and this

estate should be rewarded by the approval of his Motion to Dismiss.

         41.       In the Original Motion to Dismiss/Transfer Venue filed in Texas in September

2019, Sagi accurately reflected that he maintained a claim arising from the judgment in the Forrest

action in the amount of approximately $3.2 million. However, as the bar date for claims

approached on December 10, 2019, Sagi elevated that claim from roughly $3.2 million to over $12

{Client/086201/1/02402283.DOCX;1 }                14
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32         Main Document
                                                 Pg 15 of 44


million based on a post-petition “Settlement agreement dated December 5, 2019” between Dalia

and Sagi in which Sagi agreed to consent to an enhanced claim of over $24 million to Dalia based

on a footnote in the Forrest decision. In turn, Sagi then takes the position that ½ of the amount

owed to Dalia can now be asserted against the bankruptcy estate . The Trustee believes that this

roughly $12 million claim filed against the estate should be reduced to reflect the actual amount

of the $3.2 million judgment, subject to any counterclaims that may exist that may further reduce

the amount of Sagi’s claim.

         42.        In the Motion to Dismiss, Sagi argues that he has won all his cases against Orly,

attempting to cast himself as a victim of spurious litigation by Orly against him. However, the

facts are clear that Sagi has received over $44 million of the family’s wealth, including all of

amounts that Sagi negotiated for his trust, the Orly Trust, and Arie Genger. It should not be a

surprise that Orly hired counsel, and with the assistance of her father, Arie, pursued her rights in

connection with certain state court actions.

         43.       While the actions against Sagi, thus far, have not resulted in large damage awards,

those actions have not been finally resolved. For instance, in the action styled Orly Genger v. Sagi

Genger, Index No. 100697/2008, the Debtor pursued Sagi on account of his alleged fraud in

connection with the sale of Orly’s interest in a Canadian real estate interest to her brother for

considerably less than the actual value. After a trial on the fraud claim, Sagi was found liable for

fraud. The Appellate Division, however, reversed the liability finding and remanded for a

reopened trial limited to the issues of (i) whether Orly sustained any pecuniary loss, an essential

element of liability for fraudulent inducement, and (ii) calculation of damages, if any, so that a

unified judgment may be entered:

                   [T]he court’s finding of liability is vacated and the matter remanded for a reopening
                   of the trial on the limited issue of whether Orly suffered actual pecuniary loss. In
                   the event the court finds such a loss, it shall, in the same proceeding, determine the
                   amount of Orly’s damages. The evidence otherwise supported the court’s finding

{Client/086201/1/02402283.DOCX;1 }                15
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32         Main Document
                                                 Pg 16 of 44


                   that Orly had satisfied her burden of proving the remaining elements of her cause
                   of action for fraud in the inducement. We find no basis to disturb the court’s factual
                   findings and credibility determinations.


Genger v. Genger, 144 A.D.3d 581, 582-83 (1st Dep’t 2016).

         44.       Thereafter, Michael Kupka of Mazars LLP was appointed as an expert on damages

and issued a report in June 2019, right before the bankruptcy filing, which calculated the value of

Orly’s interest in the Canadian real estate venture to be $99,551 with a “discount for lack of

marketability” applied, and $132,734 without such a discount. While the damages are lower than

what Orly and her counsel expected, it is clear that even a small amount of damages reflects that

there was a pecuniary loss, the final element of a fraud liability finding.

         45.       Notwithstanding this Court’s request that the parties hold matters in abeyance

pending the outcome of the Motion to Dismiss, Sagi attempted, on August 31, 2020, to dismiss

this state court action, a claim that belongs to the estate and is “property of the estate”. On

September 14, 2020, the Trustee filed an objection, which was sustained by Judge Jaffe. A more

detailed description of this state court action is included in the Trustee’s Memorandum of Law in

Opposition to Sagi’s Motion to Dismiss for Abandonment Or, In the Alternative, Want of

Prosecution, annexed hereto as Exhibit “A”, along with a copy of Judge Jaffe’s decision. Mr.

Mazars’ report is not a final adjudication of the damages in this action and the trial will need to be

continued to assess whether the report is a proper calculation of damages or whether the damages

are actually far greater than the amounts in his report. After Justice Jaffe sustained the Trustee’s

objection, the Trustee and Sagi agreed that the trial can be delayed until after this Court’s

determination of the Motion to Dismiss this bankruptcy case.

         46.       In another action styled as Orly Genger v. Dalia Genger, Sagi Genger, Leah Fang,

D&K GP, LLC, & TPR Investment Assoc., Inc., Index No. 109749/2009 (N.Y Sup. Ct. N.Y. Cnty.),

Orly pursued various causes of action, including Dalia Genger for fraud and Sagi Genger for

{Client/086201/1/02402283.DOCX;1 }                16
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32            Main Document
                                                 Pg 17 of 44


breach of fiduciary duty. The Court made a determination years ago that Sagi had breached his

fiduciary duty to Orly, but in or about March 2019, during the damages phase of the action, the

court awarded no damages. The appeal of the damages determination has been noticed but has not

yet been perfected. The Appellate Division Clerk handling such appeal advised counsel to the

Debtor in December 2019 that in light of the pending bankruptcy of the appellant (Orly) and the

automatic stay, the time to perfect the appeal was stayed. Absent a resolution with Sagi, the

Trustee will consider a perfection of this appeal against Sagi.

         47.       Finally, as more fully set forth in the Debtor’s Objection and the Trustee’s

Settlement Motion, Sagi engaged in various acts, starting in June 2019, that could give rise to

additional counterclaims for damages.

         48.       Separate and apart from the above-mentioned counterclaims, it is clear that all of

these actions, including a finding of fraud in the 2008 Action could potentially lead to the equitable

subordination of Sagi’s claim in this case. As indicated, the Trustee desires a resolution with Sagi

concerning his inflated proof of claim and potential counterclaims and hopes that a settlement of

these discrete issues is possible without the need for litigation.

         49.       Sagi, in his Motion to Dismiss, cites to a non-bankruptcy case from the Supreme

Court that describes the “good faith” requirement of litigants. See Precision Instrument Mfg. Co.

v. Auto Main. Mach. Co., 324 U.S. 806, 814-15 (1945) as follows:

                            The guiding doctrine…is the equitable maxim that ‘he who comes into
                            equity must come with clean hands.’ This maxim is…a self imposed
                            ordinance that closes the doors of a court of equity to one tainted with
                            inequitableness or bad faith relative to the matter in which he seeks relief,
                            however improper may have been the behavior of the defendant. That
                            doctrine is rooted in the historical concept of court of equity as a vehicle for
                            affirmatively enforcing the requirements of conscience and good
                            faith…Thus while ‘equity does not demand that its suitors shall have led
                            blameless lives,’…it does require that they shall have acted fairly and
                            without fraud or deceit as to the controversy in issue.

This direct quote taken from Sagi’s Motion to Dismiss, which is designed to attack Orly’s good

{Client/086201/1/02402283.DOCX;1 }                  17
19-13895-jlg         Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32         Main Document
                                                 Pg 18 of 44


faith in the bankruptcy case, can also be applied to Sagi, as the moving party, who seeks relief

from this court through the Motion to Dismiss.

         50.       For these reasons, the Trustee respectfully submits that this Court may consider the

foregoing as it weighs the evidence and the credibility of the witnesses at the upcoming hearing.

                                     JOINDER IN OTHER OBJECTIONS

         51.       The Trustee hereby joins in any other objections filed by parties in interest, only to

the extent not inconsistent herewith. The Trustee expressly does not join in any portion of any

objections that allege that the Trustee has no rights in the Disputed Settlement Proceeds.

                                       RESERVATION OF RIGHTS

         52.       The Trustee reserves the right to further supplement this Objection at or prior to the

evidentiary hearing to consider the Motion to Dismiss. The parties await the completion of briefing

on the Motion to Dismiss as Sagi’s reply is due on June 7, 2021. The Trustee expressly reserves

the right to submit any exhibits and evidence into the record in advance of or at the evidentiary

hearing in accordance with any deadlines established by the Court.

         WHEREFORE, the Trustee respectfully requests that this Court (a) deny the Motion to

Dismiss consistent with this Objection and any other objections to the Motion, to the extent not

inconsistent herewith, and (b) grant such other and further relief as is just and proper.

Dated: New York, New York
       June 1, 2021
                                            TARTER KRINSKY & DROGIN LLP
                                            Attorneys for Deborah J. Piazza
                                            Chapter 7 Trustee


                                            By:   /s/Rocco A. Cavaliere
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{Client/086201/1/02402283.DOCX;1 }                 18
19-13895-jlg   Doc 433   Filed 06/01/21 Entered 06/01/21 13:50:32   Main Document
                                     Pg 19 of 44




                                  EXHIBIT A
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                             INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 20 of 44



          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
                                            )
          ORLY GENGER,                      )
                                            )
                                            )   Index No.: 100697/08
                          Plaintiff,
                -against-                   )
                                            )   Motion Seq. No. 054
                                            )
          SAGI GENGER,                      )
                                            )
                          Defendant.        )
                                            )




                 MEMORANDUM OF LAW OF DEBORAH J. PIAZZA, AS SUCCESSOR
          CHAPTER 7 TRUSTEE OF THE ESTATE OF ORLY GENGER IN SUPPORT OF HER
            OPPOSITION TO DEFENDANT SAGI GENGER’S MOTION TO DISMISS FOR
           ABANDONMENT OR, IN THE ALTERNATIVE, FOR WANT OF PROSECUTION




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          {Client/086201/1/02181510.DOCX;2 }


                                                           1 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                            INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 21 of 44




          {Client/086201/1/02181510.DOCX;2 }                  2

                                                           2 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                                                  INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970                 Doc 433          Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                                Main Document
                                                                                                      NYSCEF: 09/14/2020
                                                                 Pg 22 of 44



                                                             TABLE OF CONTENTS



          PRELIMINARY STATEMENT .................................................................................................... 1

          RELEVANT BACKGROUND ...................................................................................................... 6

                   A.      The Fraud Trial, Damages Remand, and Court-Directed Audit ..................................... 6

                   B.      July 2019 Bankruptcy and August Mediation Calendar Court Date .............................. 8

          ARGUMENT ................................................................................................................................ 10

             I.         No Statutory Authority Permits Dismissal of this Case for General Delay ...................... 10

                   A.      CPLR 3404 Is Inapplicable to this Case, Which Was Not Restored
                           to Nor Stricken Off the Trial Calendar ......................................................................... 11

                   B.      CPLR 3216 Does Not Authorize Dismissal of this Post-NOI Case ............................. 12

             II.        The Trustee Has Not Abandoned This Meritorious Case And Sagi Has
                        Demonstrated No Prejudice .............................................................................................. 14

          CONCLUSION ............................................................................................................................. 17




          {Client/086201/1/02181510.DOCX;2 }                                   i

                                                                          3 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                                                 INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970              Doc 433           Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                              Main Document
                                                                                                    NYSCEF: 09/14/2020
                                                               Pg 23 of 44




                                                         TABLE OF AUTHORITIES

                                                                                                                                         Page(s)

          Cases

          Arroyo v. Bd. Of Educ. Of the City of New York,
             110 A.D.3d 17 (2nd Dep’t 2013) ...................................................................................2, 11, 17

          Berardo v. Guillet,
             86 A.D.3d 459 (1st Dep’t 2011) ..............................................................................................10

          Berde v. N. Shore-Long Island Jewish Health Sys., Inc.,
             98 A.D.3d 932 (2d Dep’t 2012) ...............................................................................................12

          Fuller v. Rolm Telecomms. Co.,
             255 A.D.2d 485 (2d Dep’t 1998) .............................................................................................14

          Genger v. Genger,
             144 A.D.3d 581 (1st Dep’t 2016) ................................................................................2, 3, 7, 14

          Genger v. Genger,
             2016 WL 551444 (Sup. Ct. Feb. 10, 2016) ........................................................................2, 6, 7

          Hebert v. Chaudrey,
             119 A.D.3d 1170 (1st Dep’t 2014) ..........................................................................................12

          Johnson v. Sam Minskoff & Sons, Inc.,
             287 A.D.2d 233 (1st Dep’t 2001) ................................................................................11, 13, 14

          Lopez v. Imperial Delivery Serv., Inc.,
             282 A.D.2d 190 (2d Dep’t 2001) .......................................................................................13, 14

          Nunez v. Goodman,
             186 A.D.2d 521 (1st Dep’t 1992) ............................................................................................11

          In re Orly Genger,
              No. 19-13895-JLG .....................................................................................................................1

          Salles v. Manhattan and Bronx Surface Transit Operating Authority,
              224 A.D.2d 334 (1 Dep’t 1996) ...........................................................................................5, 11

          Wells Fargo Bank, N.A. v. Vazquez,
             57 Misc. 3d 941 (N.Y. Sup. Ct. 2017) .....................................................................................11




          {Client/086201/1/02181510.DOCX;2 }                                  i

                                                                         4 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                                                     INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970               Doc 433           Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                               Main Document
                                                                                                     NYSCEF: 09/14/2020
                                                                Pg 24 of 44



          Other Authorities

          22 NYCRR 202.45 .....................................................................................................................2, 12

          (22 NYCRR) § 202.27 ...................................................................................................................13

          Administrative Order of the Chief Administrative Judge No. AO/78/20 ........................................5

          CPLR 3216............................................................................................................................. passim

          CPLR 3216 and 3404 .....................................................................................................................11

          CPLR 3216(b) ..................................................................................................................................3

          CPLR 3216(d) ............................................................................................................................3, 12

          CPLR 3404............................................................................................................................. passim

          CPLR 3404 and 3216 ...............................................................................................................13, 17

          Executive Order Nos. 202.8 .............................................................................................................5




          {Client/086201/1/02181510.DOCX;2 }                                    ii

                                                                           5 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                 INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 25 of 44




                   Deborah J. Piazza, solely in her capacity as the court-appointed Chapter 7 trustee in the

          bankruptcy case captioned In re Orly Genger, No. 19-13895-JLG, pending in the United States

          Bankruptcy Court for the Southern District of New York (the “Trustee”), acting for and on behalf

          of the bankruptcy estate of plaintiff Orly Genger (“Orly”), submits this memorandum of law in

          opposition to the motion to dismiss this action, dated August 31, 2020, filed by Sagi Genger

          (“Sagi”).

                                                 PRELIMINARY STATEMENT

                   The Trustee has no doubt that the frivolous and wasteful Motion filed by Sagi was the last

          thing that this Court desired come across its desk while it manages its docket to impart justice to

          deserving litigants during this unfortunate worldwide epidemic facing this country. Indeed, the

          bankruptcy filing by Orly in July 2019 has resulted in a welcome reprieve to numerous Judges in

          both federal and state courts, including this Court, who have otherwise had to endure the

          unfortunate Genger family drama for too many years. The Trustee, a court-appointed fiduciary

          overseeing the Orly bankruptcy estate since December 2019, is an independent party with no

          Genger blood in her veins, and has had no desire to prematurely foist onto this Court a damages

          hearing to support the findings of liability against Sagi several years ago. Unfortunately, the

          Motion is just the latest example of a bad faith maneuver and tactic by Sagi in furtherance of some

          overall litigation strategy, which burdens this Court, at a time in which the Trustee is administering

          Orly’s bankruptcy estate for the benefit of all creditors. Sagi’s Motion should be denied for the

          reasons set forth herein.

                   By his Motion, Sagi seeks to dismiss this case on the ground of general delay even though

          it has already been tried and is pending a reopened trial solely on damages. He seeks this dismissal

          after a months-long bench trial resulted in a court ruling that he made material false statements to


          {Client/086201/1/02181510.DOCX;2 }


                                                           6 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 26 of 44



          his younger sister and only sibling, Orly; after the Appellate Division upheld that ruling; and after

          a court-supervised forensic audit on remand determined that Sagi’s fraudulent inducement caused

          Orly actual pecuniary loss, confirming this court’s prior trial ruling that Sagi is liable for

          fraudulently inducing Orly to sell him her share of the family Canadian business. See Genger v.

          Genger, 2016 WL 551444 (Sup. Ct. Feb. 10, 2016); see also Genger v. Genger, 144 A.D.3d 581

          (1st Dep’t 2016). Despite that undisputed – and lengthy – record of Orly’s diligent prosecution of

          this action and indisputable merit of her case, Sagi argues that dismissal is mandated by CPLR

          3404 and CPLR 3216 because the reopened trial on damages following remand has not yet

          resumed. He is wrong in every respect.

                   It is settled law that courts in New York have no authority to dismiss an action for general

          delay unless either CPLR 3404 or CPLR 3216 applies. See Arroyo v. Bd. Of Educ. Of the City of

          New York, 110 A.D.3d 17, 19-20 (2nd Dep’t 2013) (power to dismiss for general delay is statutory

          and the courts otherwise have “no power whatsoever” to dismiss on this ground). Neither statute,

          however, applies here.

                   Section 3404 governs post-note-of-issue cases stricken from a trial calendar.          It is

          inapplicable here because this case, upon remand, was not immediately restored to the trial

          calendar. The trial court instead appointed the forensic accountant, who reviewed the trial record

          and submissions from both sides for months, before issuing his report in June 2019, just one month

          before the bankruptcy filing. Neither party has reset the matter on the trial calendar by filing the

          requisite “notice to reschedule.” 22 NYCRR 202.45 (“Where a new trial is granted by an appellate

          court, a notice to reschedule shall be filed with the appropriate clerk.”). As demonstrated herein,

          the case law is abundantly clear that, because the case was not on the trial calendar (and therefore

          it was not and could not have been stricken from it), CPLR 3404 is inapplicable.




          {Client/086201/1/02181510.DOCX;2 }                  2

                                                           7 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                  INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 27 of 44



                   Section 3216 is likewise inapplicable. While Sagi invokes subsection “(d)” of that statute,

          he failed to cite controlling case law authority from the First Department that clarifies that Section

          3216 applies only to cases in which the note of issue has not yet been filed, i.e. pre-NOI cases.

          CPLR 3216(d) is a sentence fragment that refers to post-NOI cases but provides no authority for

          dismissal other than reiterating that dismissal is not permitted if the NOI was filed within the 90-

          day “safe harbor” provision of CPLR 3216(b):

                         (d) After an action has been placed on the calendar by the service and
                         filing of a note of issue, with or without any such demand, provided,
                         however, if such demand has been served, within the said ninety day
                         period [set forth in 3216(b)], the action may not be dismissed by reason of
                         any neglect, failure or delay in prosecution of the action prior to the said
                         service and filing of such note of issue.

          CPLR 3216(d) (emphasis added). As demonstrated herein, the Appellate Division has addressed

          the interplay of this CPLR provision with CPLR 3404 and has clarified that CPLR 3216 applies

          only to pre-NOI cases. This case, however, is a post-NOI case. The Note of Issue (at NYSCEF

          No. 232) precipitated the prior months-long trial, a lengthy trial decision by the Court (most of

          which was affirmed on appeal) as well as the appeal and remand. See Genger v. Genger, 144

          A.D.3d 581 (1st Dep’t 2016).

                   Sagi cannot avoid this legal authority and controlling case law, which is conveniently

          omitted from his Motion. Instead, his Motion is predicated on an August 5 2019 settlement-

          conference calendar at which Orly did not appear. This appearance date was not set by the trial

          judge, but was administratively set as part of newly instituted “Non-Jury Mediation Calendar for

          various post note of issue cases.” Sagi Mot. Ex. A (emphasis added). Importantly, Orly had no

          authority to direct her counsel to appear at the calendar call because, by that time, she was penniless

          and had filed for bankruptcy the previous month – of which Sagi is well aware since he has been

          an active creditor-litigant in those ongoing bankruptcy proceedings. Upon filing for bankruptcy,



          {Client/086201/1/02181510.DOCX;2 }                  3

                                                           8 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                               INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 28 of 44



          Orly ceded control, as a matter of federal law, over all of her assets, including her legal claims in

          this action, to Ronald Satija, the predecessor bankruptcy trustee (the “Predecessor Trustee”)

          appointed in her Texas bankruptcy proceeding, before the transfer of her bankruptcy proceeding

          to New York in December, at which time the Trustee became the successor trustee. Under section

          323 of the Bankruptcy Code, the Trustee is now the legal representative of the bankruptcy estate

          and has the authority to pursue causes of action that are “property of the estate” under section 541

          of the Bankruptcy Code.1 That missed appearance by the Predecessor Trustee and Orly, however,

          is not grounds for dismissal. In fact, the Court’s own docketing system confirms that the case

          remains “active.”

                   Moreover, the ensuing months of delay are not the fault of Orly, the Predecessor Trustee

          or the Trustee, and certainly are not evidence of abandonment of the case. The reasons why the

          damages hearing has not been scheduled are plentiful. First, the main reason for delay relates to

          Sagi’s own motion to dismiss the bankruptcy case which he has refused to withdraw, and which is

          on the Bankruptcy Court’s calendar for a hearing on October 30, 2020. The Trustee has repeatedly

          advised the parties, including Sagi, and the Bankruptcy Court, that once such motion is disposed

          of, the Trustee can complete her investigation of a number of matters, including the issues

          pertaining to the claims in this action. Indeed, the Bankruptcy Court has delayed hearings on

          numerous other matters in the case while we await the Bankruptcy Court’s disposition of Sagi’s

          motion to dismiss the bankruptcy. Second, any delays in scheduling a trial date relate, in part, to

          the worldwide pandemic emergency and statewide closure of the courts in New York. Under

          various orders of the Governor and the Chief Administrative Judge, this Court closed entirely and


          1
           Sagi’s action in filing the Motion at this time, and without notice to the Trustee, which attempts to wrest away a
          potential cause of action that implicates “property of the estate” and the claims reconciliation process may be
          actionable in their own right. The Trustee reserves all rights to seek costs and attorneys’ fees in the Bankruptcy
          Court at the appropriate time.


          {Client/086201/1/02181510.DOCX;2 }                        4

                                                               9 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 29 of 44



          was not open for filings of any kind, including any “notice to reschedule,” for close to three

          months. Executive Order Nos. 202.8 (tolling all deadlines for “the commencement, filing, or

          service of any legal action, notice, motion, or other process or proceeding” as of March 20, 2020;

          see also Administrative Order of the Chief Administrative Judge No. AO/78/20, dated March 22,

          2020 (“effective immediately and until further order, no papers shall be accepted for filing by a

          county clerk or a court in any matter” not deemed essential). Moreover, the courts have not

          scheduled trials of any kind since last February – over six months ago. This judicial district has

          only just recently announced that some select civil trials are set for the end of this month. Thus,

          obviously, even if the Trustee were to have asked this Court to expedite a trial damages hearing,

          it is unlikely this Court would have been in a position to do so.

                   None of this systemic delay can be attributed to the Trustee (or Orly or the Predecessor

          Trustee) and none of it caused any prejudice to Sagi. He certainly demonstrates no prejudice. The

          remaining issues for the reopened trial all concern calculation of damages. And that calculation

          will be based in large part on the business records of the companies at issue, the financial records

          maintained by the accountants, and the analysis of the court-appointed accountant as further

          elucidated by testimony concerning and based upon these records.

                   The very idea that the bankruptcy estate should be stripped of a cause of action of already

          demonstrated merit because the continued trial following remand was not scheduled to occur in

          the last twelve months – during which most of that time the courts were closed and/or no trials

          were permitted at all – is nothing short of absurd. It offends basic notions of fairness, not to

          mention violates the laws of this State, including the oft-stated principle that New York favors

          disposition on the merits. Salles v. Manhattan and Bronx Surface Transit Operating Authority,

          224 A.D.2d 334, 334 (1 Dep’t 1996) (three-year delay in filing notice to reschedule following




          {Client/086201/1/02181510.DOCX;2 }                  5

                                                           10 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                       INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 30 of 44



          remand not a basis for dismissal “given the general policy favoring dispositions on the merits, a

          showing of merit, the absence of prejudice, and a not wholly implausible reading of the court rule

          as being self-executing”).

                   In sum, the Trustee, as a court-appointed fiduciary in the Orly bankruptcy estate, has a right

          to administer the Orly bankruptcy estate for the benefit of all creditors. One of the potential assets

          that exist relates to the claims asserted in this action, which impacts “property of the estate” and

          the claims reconciliation process in the bankruptcy case.

                                                 RELEVANT BACKGROUND

                   A. The Fraud Trial, Damages Remand, and Court-Directed Audit

                   After about 30 days of trial, this Court ruled that Sagi was liable for defrauding Orly out

          of her once-equal interest in the Genger family real estate venture in Canada through a “bill of

          sale” transaction that he orchestrated with his friend David Parnes. Genger v. Genger, 2016 WL

          551444 (Sup. Ct. Feb. 10, 2016). On Sagi’s appeal, the Appellate Division upheld all of this

          Court’s factual and credibility findings, including the finding that Sagi was not credible. Indeed,

          this Court made the following findings as it related to Sagi:

                             As defendant was plaintiff's first witness, I address his credibility first. Given the
                             long and close personal and business relationship between defendant and Parnes,
                             defendant's claim that he did not recognize Parnes's handwriting on the documents
                             underlying the transaction is incredible, a conclusion buttressed by defendant's too-
                             careful testimony that plaintiff may have filled in the figures on the bill of sale. This
                             prevarication, as well as defendant's evasiveness and equivocation about the
                             transaction, warrant doubt as to defendant's general credibility. Plaintiff counsel's
                             aggressiveness in questioning defendant, while occasionally inappropriate, cannot
                             be blamed for defendant's evasiveness.

                             Defendant's evasiveness as to whether he owed plaintiff a fiduciary duty warrants
                             additional doubt as to his credibility, for even absent such a duty, what he owed to
                             plaintiff in terms of familial concern should have been sufficient motivation for him
                             to find another, legal, way for plaintiff to handle the tax issue.

                             Moreover, as defendant knew that the suspension of plaintiff's TPR stipends was
                             due to plaintiff's September 2004 receipt of the $150,000 check for White Box, and


          {Client/086201/1/02181510.DOCX;2 }                    6

                                                           11 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                     INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 31 of 44



                             given his intent that the promissory note not be paid until after January 1, 2006, his
                             testimony that the transaction was a mechanism for satisfying plaintiff's need for
                             funds has no basis. I also reject his contention that plaintiff declined payment of the
                             $57,000 balance on the promissory note.

          Genger, 2016 WL 551444 at *6.

                   The Appellate Division, however, reversed the liability finding and remanded for a

          reopened trial limited to the issues of (i) whether Orly sustained any pecuniary loss, an essential

          element of liability for fraudulent inducement, and (ii) calculation of damages, if any, so that a

          unified judgment may be entered:

                         [T]he court’s finding of liability is vacated and the matter remanded for a
                         reopening of the trial on the limited issue of whether Orly suffered actual
                         pecuniary loss. In the event the court finds such a loss, it shall, in the same
                         proceeding, determine the amount of Orly’s damages. The evidence
                         otherwise supported the court’s finding that Orly had satisfied her burden
                         of proving the remaining elements of her cause of action for fraud in the
                         inducement. We find no basis to disturb the court’s factual findings and
                         credibility determinations.

          Genger v. Genger, 144 A.D.3d 581, 582-83 (1st Dep’t 2016).

                   Following remand, in 2018 and over Orly’s objection, this Court selected Michael Kupka,

          CPA, of Mazars USA, to conduct a damages analysis, and – also over Orly’s objection – ordered

          that Orly and Sagi split the cost of his fees.

                   Upon information and belief, Mr. Kupka performed his analysis primarily based on the

          books and records Sagi provided him. Mr. Kupka issued his report on June 4, 2019. A month

          later, Orly filed for bankruptcy, as described below. In the report, Mr. Kupka found that Orly had

          incurred actual pecuniary loss caused by Sagi’s fraud. Specifically, he calculated the value of

          Orly’s interest in the Canadian real estate venture to be $99,551 with a “discount for lack of

          marketability” applied, and $132,734 without such a discount. Both amounts are well more than

          the $43,000 Sagi paid Orly for her interest, as already determined by this Court’s trial decision.




          {Client/086201/1/02181510.DOCX;2 }                   7

                                                           12 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                              INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 32 of 44



                   Mazars submitted its report to the Court, both electronically and in hard copy, in June 2019.

          Neither party thereafter filed a notice to reschedule trial. This action has not been at any time

          following remand and remittitur restored to the trial calendar, nor has any order issued striking the

          matter from the trial calendar. To the contrary, the case remains “active” on the eCourts system.

                   B. July 2019 Bankruptcy and August Mediation Calendar Court Date

                   Orly filed for bankruptcy on July 12, 2019, after Sagi obtained a roughly $3.2 million

          judgment against Orly and began enforcement proceedings against her. At that time, she owed

          millions of dollars to various parties, as set forth in the bankruptcy schedules she filed with the

          Bankruptcy Court, including the $3.2 million judgment that was obtained under unusual

          circumstances.2

                   Orly originally filed her bankruptcy case in Texas, where she lives. Sagi challenged venue

          and also moved to dismiss, resulting in months of delay in that action through the end of 2019.

          Around the same time that Orly filed for bankruptcy in July 2019, the administrative order setting

          this matter for an August 5, 2019 court appearance on the newly instituted Non-Jury Mediation

          Calendar was issued. See Sagi Mot. Ex. A. Orly’s then-counsel in this action, Kasowitz Benson

          Torres LLP, however, had ceased work given the automatic bankruptcy stay and the fact that the

          Predecessor Trustee now was responsible for directing any legal work in this action (as well as

          Orly’s other pending matters involving Sagi and Dalia). The Predecessor Trustee had only been

          recently appointed a few weeks before the August 5, 2019 conference, and Orly’s section 341(a)

          meeting in the case had not yet even taken place. Notwithstanding Sagi’s recognition that the


          2
           In 2014 and 2017, Dalia Genger (Orly and Sagi’s mother) commenced actions in federal court against Sagi Genger
          for “support” under a certain 2004 letter agreement between Dalia and Sagi. Pursuant to a separate indemnity
          agreement between Sagi and Orly, Orly had apparently agreed to indemnify Sagi for one-half of the “support” of
          Dalia. Dalia obtained a judgment against Sagi for approximately $6 million, and in turn, Sagi, obtained a judgment
          of roughly $3.2 million against Orly. Notwithstanding the judgment against her wealthy son, Dalia has failed to
          collect the full amount of her judgment. This is not surprising since it is generally known and understood that Dalia
          and Sagi get along, and in fact, even share the same counsel that signed the Motion.


          {Client/086201/1/02181510.DOCX;2 }                        8

                                                              13 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                  INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 33 of 44



          claims in this action belonged to the Predecessor Trustee, upon information and belief, no effort

          was made by Sagi or his counsel to communicate with the Predecessor Trustee about his possible

          appearance at the August 5, 2019 conference. Indeed, the only communication Sagi sent with

          respect to the August 5, 2019 conference was to the Debtor’s former counsel on the morning of

          the conference. See Ciparick Aff., Exh. B. Sagi now inappropriately attempts to use that one

          missed appearance, together with a one sentence email to former counsel to Orly (as opposed to

          the Predecessor Trustee) to support dismissal of an action in which liability was established at trial,

          at which time Sagi was found to have made fraudulent statements.

                   During the bankruptcy case in Texas, Sagi had filed a motion to dismiss the bankruptcy

          case or alternatively, to transfer venue to the Southern District of New York. The Texas court

          granted the change of venue (but did not decide the dismissal relief in the motion), and the case

          was transferred to the Southern District of New York in December 2019. The New York

          Bankruptcy Court appointed the Trustee, Deborah J. Piazza, as the successor Chapter 7 trustee for

          Orly’s bankruptcy estate. However, unfortunately, in an obvious litigation tactic, and as noted

          herein, Sagi has continued to press his motion to dismiss the entire bankruptcy case, which hearing

          is scheduled for October 30, 2020. The Trustee has repeatedly advised Sagi that after the

          Bankruptcy Court disposes of the motion to dismiss the bankruptcy case, the Trustee will attempt,

          if possible, to reach a global resolution of the $3.2 million judgment Sagi obtained against Orly,

          as well as the Trustee’s claims against Sagi in this case and other cases, as well as unasserted

          causes of action that the Trustee could bring. Unfortunately, Sagi filed this wasteful motion

          instead. Clearly, as Sagi is well aware, the Trustee has never indicated a desire to abandon the

          potentially valuable claims that are included in this action.




          {Client/086201/1/02181510.DOCX;2 }                  9

                                                           14 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                                  INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 34 of 44



                      Since her appointment, the Trustee has been evaluating potential assets of the estate for the

          benefit of creditors, with a principal focus on alleged fraudulent transfer claims with a potential

          value of $32.3 million against various third parties. Due to the Genger family’s history of

          litigation, the Bankruptcy Court requested that the Trustee work with the various parties to submit

          a status report highlighting the pendency of various litigations. That effort culminated in a non-

          binding Status Report dated April 17, 2020.3 An abridged version of the Status Report was

          attached to the Ciparick Affirmation. A full copy of the Status Report highlighting all of the

          various litigations, is attached as Exhibit “A” to the Cavaliere Affirmation, submitted herewith.4

          Sagi fails to advise this Court that most of the litigations on the Status Report have essentially been

          held in abeyance by the Bankruptcy Court pending the determination of the motion to dismiss the

          bankruptcy case. This case is no different. There is simply no need for this Court to proceed with

          a trial on damages at this time, when the Trustee is administering other aspects of the bankruptcy

          case and has indicated a desire to try to resolve this matter after Sagi’s motion to dismiss the

          bankruptcy case is denied by the Bankruptcy Court.                       Unless otherwise settled, which is a

          possibility, the claims in this action should be decided on their merits in the future.

                                                             ARGUMENT

                 I.      No Statutory Authority Permits Dismissal of this Case for General Delay

                      It is “the strong public policy of this State to dispose of cases on their merits,” and not

          based on technicalities or procedural defaults. Berardo v. Guillet, 86 A.D.3d 459, 459 (1st Dep’t


          3
            The Status Report includes a footnote no. 1 on page 2 which was regrettably not included in the Ciparick
          Affirmation. The footnote includes, among others, the following sentences: “Overall, the descriptions herein are not
          intended to waive any parties’ rights (including the Trustee) in any pending action but are provided to the Court to
          provide a brief background, the current status, and the positions of the parties in connection with such actions, where
          appropriate. Further, to the extent that that a party has described or failed to describe their view of the current status
          of the pending actions aor has failed to refute any party’s assertions herein does not prejudice any party’s rights in
          any pending action or in this bankruptcy case.”
          4
            Citations are to the accompanying Affirmation of Rocco A. Cavaliere, Esq. (“Cavaliere Aff.) in support of this
          Opposition.


          {Client/086201/1/02181510.DOCX;2 }                         10

                                                                15 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                     INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 35 of 44



          2011). This principle has been applied uniformly to strongly disfavor dismissal due to general

          delay either pre-NOI or post-NOI. See Salle, supra, 224 A.D.2d at 334.

                   Following Court of Appeals precedent, moreover, the Appellate Division has settled the

          law on this point by holding that the courts have no inherent authority to dismiss cases for general

          delay, except as provided by statute in CPLR 3404 and CPLR 3216. Arroyo, 110 A.D.3d at 20

          (applying Court of Appeals precedent and holding that “courts lack the inherent authority” to

          dismiss for “general delay,” even under equitable laches principles, and that dismissal for general

          delay is governed solely by CPLR 3404 and CPLR 3216). See also Wells Fargo Bank, N.A. v.

          Vazquez, 57 Misc. 3d 941, 944–45 (N.Y. Sup. Ct. 2017) (“Case law, as well as the McKinney’s

          Commentary to CPLR 3216 and 3404, make clear that those two sections are the statutory authority

          for a court to dismiss a case for failure to prosecute: CPLR 3216 deals with cases pre-note of

          issue, CPLR 3404 with cases post-note of issue.”).

                   In his motion, Sagi improperly ignores the controlling case law in arguing that he is entitled

          to dismissal under either or both CPLR 3404 and CPLR 3216. As demonstrated below, the law is

          settled, and it is black and white, that neither CPLR provision applies here.

                   A. CPLR 3404 Is Inapplicable to this Case, Which Was Not Restored to Nor
                      Stricken Off the Trial Calendar

                   CPLR 3404 authorizes a court to dismiss cases that have been on and were stricken from

          the court’s trial calendar, but only after the plaintiff fails for a year to seek to have the case restored

          to the trial calendar. CPLR 3404. “CPLR 3404 governs cases marked off a trial calendar only.”

          Johnson v. Sam Minskoff & Sons, Inc., 287 A.D.2d 233, 235 (1st Dep’t 2001). Accordingly, if the

          case has not been stricken from the trial calendar, the provision is inapplicable. Nunez v. Goodman,

          186 A.D.2d 521, 522 (1st Dep’t 1992) (“The court properly held that defendants could not rely on

          the August 24 order since it contained no judicial determination that the matter was stricken from



          {Client/086201/1/02181510.DOCX;2 }                  11

                                                           16 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                                 INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 36 of 44



          the trial calendar. Since the case was not stricken from the trial calendar, there was no basis to

          invoke CPLR 3404.”).

                   Here, this case was not stricken from the court’s calendar for the simple reason that it was

          never restored to that calendar following remand. It is undisputed that neither party filed a notice

          to reschedule under 22 NYCRR 202.45, nor was the case otherwise restored to the trial calendar

          for the reopened trial of this matter. Accordingly, by its plain terms CPLR 3404 is not applicable,

          and no dismissal for any delay is authorized by this statute. See Berde v. N. Shore-Long Island

          Jewish Health Sys., Inc., 98 A.D.3d 932, 932 (2d Dep’t 2012) (“Where a case is not marked off or

          stricken from the trial calendar, but is removed from the calendar for another reason, CPLR 3404

          does not apply.”). See also Siegel, N.Y. Prac. § 375 (6th ed.) (CPLR 3404 “does not apply to

          strikings from other calendars, like motion or pretrial calendars or any other pre-note of issue

          calendar”).5

                   B.     CPLR 3216 Does Not Authorize Dismissal of this Post-NOI Case

                   Sagi also relies on CPLR 3216(d). But, as noted above, that provision does not expressly

          authorize dismissal of post-NOI cases; instead it prohibits dismissal of post-NOI cases where the

          note of issue was submitted within the 90-day period specified by that statute. That provision,

          which (as also noted above) is an incomplete sentence, has generated controversy concerning that

          statute’s interplay with CPLR 3404, which expressly governs dismissal of post-NOI cases for

          general delay. What Sagi omits from his motion, however, is the case law that definitively settled




          5
            The one case Sagi cited, Hebert v. Chaudrey, 119 A.D.3d 1170 (1st Dep’t 2014), is inapposite. In that case, a trial
          date had actually been set on, and later was stricken from, the trial calendar after the court found that the plaintiff
          failed to comply with discovery obligations. Id. at 1171. Thereafter, the plaintiff waited more than two years to
          seek to restore the action. Furthermore, even if CPLR 3404 were to be applicable, Sagi cannot meet the rigorous
          standards for dismissal in light of the Court’s findings on liability and lack of prejudice to Sagi, as more fully set
          forth herein,


          {Client/086201/1/02181510.DOCX;2 }                        12

                                                               17 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                   INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 37 of 44



          the matter by holding that CPLR 3216 applies only to pre-NOI cases – and, therefore, does not

          govern this case, which is post-NOI.

                   In Lopez v. Imperial Delivery Serv., Inc., 282 A.D.2d 190 (2d Dep’t 2001) the Appellate

          Division expressly decided this issue. After analyzing the legislative history of both CPLR 3404

          and 3216, the Second Department held: “Accordingly, CPLR 3216 is clearly intended to apply to

          cases which have not yet reached the trial calendar.” Id. at 193-94. Applying the statutes to that

          case, the Appellate Division held that it was “improper” to dismiss the case for general delay

          occasioned after failure to appear at a non-trial calendar appearance:

                         [W]e disapprove of the action taken in this case based upon the plaintiffs’
                         failure to appear at a conference. Accordingly, because this action was
                         never properly dismissed there was no need for a motion to restore. The
                         case was, while perhaps comatose, still alive.

          Id. at 200. See generally Siegel, N.Y. Prac. § 375 (6th ed.) (noting “extensive treatment” in Lopez,

          which “lined up the two statutes, traced their histories, described their scope and purpose, and drew

          a sharp line between them designed to avoid the mutual invasions that had been characterizing

          their application”).

                   The statutory analysis and holdings in Lopez were expressly adopted by the First

          Department in Johnson v. Sam Minskoff & Sons, Inc., 287 A.D.2d 233 (1st Dep’t 2001), which is

          controlling law here and which Sagi failed to cite.           After explicitly adopting the Second

          Department’s “thorough analysis of the interplay among CPLR 3404, CPLR 3216 and Uniform

          Rules for Trial Courts (22 NYCRR) § 202.27,” the First Department held:

                         CPLR 3216 prohibits the dismissal of an action on the ground of general
                         delay or for failure to serve and file a note of issue where the plaintiff has
                         not been served with a 90-day demand to serve and file a note of issue
                         (subd [b] [3]; see, Chase v. Scavuzzo, 87 N.Y.2d 228; Greene v. New
                         England Mut. Life Ins. Co., 257 A.D.2d 521). The statute requires that the
                         90-day notice be served by registered or certified mail (subd [b] [3]). This
                         notice provision reflects the Legislature’s effort to protect an unoffending



          {Client/086201/1/02181510.DOCX;2 }                  13

                                                           18 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                  INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 38 of 44



                          client from the severe penalty of summary dismissal or dismissal upon
                          notice for a lawyer’s tardiness, without unduly hampering the courts.

          Johnson, 287 A.D.2d at 237 (emphasis added). Here, of course, Sagi never served the requisite

          90-day demand to serve and file a note of issue; nor would such demand be apposite to this case

          because this is a post-NOI case, as to which CPLR 3216 does not apply.

                      In fact, research uncovered not a single case where a court dismissed a post-note of issue

          case, like this one, pursuant to CPLR 3216 – and Sagi cites none, certainly none that post-date the

          holdings in Lopez and Johnson. The one case he does cite, Fuller v. Rolm Telecomms. Co., 255

          A.D.2d 485 (2d Dep’t 1998), is from 1998, years before the Appellate Division’s decision in Lopez,

          which supersedes the cursory statutory analysis in Fuller. And even in Fuller, the Second

          Department affirmed the denial of the CPLR 3216 motion to dismiss given the evidence negating

          intentional abandonment of a meritorious case.

                II.      The Trustee Has Not Abandoned This Meritorious Case And Sagi Has
                         Demonstrated No Prejudice

                      The merits of this case have already been proven. Prior to her bankruptcy filing, Orly

          prevailed in the prior trial decision on each element of her cause of action for fraudulent

          inducement, save damages, and the decision on each of those elements was affirmed on appeal.

          See Genger,144 A.D.3d at 581 (“the evidence otherwise supported the court's finding that Orly

          had satisfied her burden of proving the remaining elements of her cause of action for fraud in the

          inducement.         We find no basis to disturb the court's factual findings and credibility

          determinations.”). The court-supervised audit following remand also confirmed that Orly did incur

          actual pecuniary loss caused by Sagi’s fraud, which is the last element needed to affirm the finding

          of liability against Sagi for fraud against his own sister.




          {Client/086201/1/02181510.DOCX;2 }                  14

                                                           19 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 39 of 44



                   In his motion, Sagi asserts that “Mr. Kupka found that Orly had suffered ‘no loss’ from the

          challenged transactions when the lack of marketability of the property at issue was taken into

          account.” Sagi Mot. at 4. If that is his honest assessment, he is mistaken. The report states that

          there is “no loss” only if (i) a discount for lack of marketability (DLOM) is applied and (ii)

          $100,000 had been paid by Sagi in “consideration” for the company shares at issue in the “Bill of

          Sale” transaction. But, as this Court already ruled at the prior trial, Sagi paid only $43,000. The

          following chart appears at the conclusion of Mr. Kupka’s report:




          Sagi Mot. Gunther Ex. B (Kupka Report) at 63.

                   As the evidence adduced at trial proves, and as Sagi admitted, he paid Orly only $43,000

          (through two separate checks) for her share of the companies, not the $100,000 he promised her

          as part of his fraudulent inducement. See Cavaliere Aff., Exh. B. Therefore, while the Trustee

          disputes Mr. Kupka’s conclusions as to the valuation of Orly’s interest in the Canadian venture

          (and the inadequacy of the expert’s findings will be demonstrated at the reopened trial on

          damages), taking Mr. Kupka’s numbers at face value conclusively proves Orly incurred actual

          pecuniary loss in the amount, at minimum, of either $56,551 or $89,734. Of course, those amounts

          do not include pre-judgment interest at the statutory rate of 9% since January 1, 2004, the purported

          effective date of the Bill of Sale. Therefore, according to Mr. Kupka, the minimum amount of the

          judgment against Sagi at the reopened trial including interest is either approximately $140,000 or

          $225,000. At the continuation of the trial, unless this matter is otherwise settled, it will be shown

          that in reality the damages are far greater than these amounts.


          {Client/086201/1/02181510.DOCX;2 }                  15

                                                           20 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                              INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 40 of 44



                   Having no valid argument as to the merits of Orly’s claim, which the Trustee may prosecute

          as the legal representative of Orly’s estate, Sagi next misleadingly tries to find evidence of the

          Trustee’s alleged intent to “abandon” this meritorious case by grossly mischaracterizing the Status

          Report filed by the Trustee, at the direction of the Bankruptcy Court, and which report included

          comments from parties in interest in the case. In his Motion, Sagi claims – falsely – that the

          Trustee’s “intent is to abandon this case.” Sagi Mot. at 7. As support, Sagi cites to the following

          excerpt from the Status Report: “subsequent to the CPA’s [Mr. Kupka’s] report being made to the

          Court, Sagi’s counsel asserts that Orly left the case dormant. A Mandatory Court conference to

          set a trial date was not attended by any counsel on behalf of either Orly or the estate.6 Accordingly,

          according to Sagi’s counsel the case is ripe for dismissal for want of prosecution”. However, as

          the quoted language makes clear, this is simply Sagi’s position that this action is “ripe for

          dismissal.” As the Status Report makes clear, the Trustee in fact rejected Sagi’s position

          concerning abandonment. See Cavaliere Aff., Ex. A, hereto at pp. 13 (from SDNY Bankr. Dkt.

          No. 234: “the Trustee dispute[s] Sagi’s counsel’s assertion in the description below that the matter

          is ripe for dismissal for the alleged failure of the Debtor to appear at a court conference”).

                   Finally, Sagi has not and cannot show any prejudice from any “general delay” – much of

          which, as noted above, is attributable, through no fault of the Trustee, to the systemic closure of

          the courts and inability to schedule any civil trials in this judicial district for many months caused

          by the global and truly unprecedented pandemic shutdown. No one, including Sagi, can argue

          with this obvious fact.




          6
           This description of a “Mandatory Conference to set a trial date” provided in the Status Report by Mr. Dellaportas is
          contrary to the actual purpose of the special mediation conference which was noticed by this Court. See Ciparick
          Aff., Exh. A.


          {Client/086201/1/02181510.DOCX;2 }                      16

                                                              21 of 23
FILED: NEW YORK COUNTY CLERK 09/14/2020 05:23 PM                                                   INDEX NO. 100697/2008
          19-13895-jlg
NYSCEF DOC. NO. 970            Doc 433         Filed 06/01/21 Entered 06/01/21 13:50:32RECEIVED
                                                                                          Main Document
                                                                                                NYSCEF: 09/14/2020
                                                           Pg 41 of 44



                   Even apart from the worldwide pandemic and statewide court closures, as the Appellate

          Division held, a “defendant cannot sit idly by while memories fade and evidence spoils,” and even

          though “extensive delay in prosecuting an action may, at times, prejudice a defendant’s ability to

          defend against a suit, a defendant has the statutory means of avoiding such prejudicial delay” by

          serving a demand to resume prosecution of the action or otherwise seeking intervention of the

          court. Arroyo, 110 A.D.3d at 21. Sagi did none of these things and thus some blame for this delay

          can be attributed to Sagi. Further, he was well aware at all times that the Trustee has been

          inundated with significant discovery and depositions required by Sagi’s own motion to dismiss the

          bankruptcy case. Ultimately, putting aside all of the arguments of the parties as to the reasons for

          the delay on the scheduling of the trial on damages, the pandemic itself overwhelmingly constitutes

          sufficient reason and justification for the delay in prosecution of this action.

                   In all events, this general delay does not qualify for dismissal under the controlling statutes

          and is otherwise excusable given the extraordinary circumstances of the pandemic and Sagi’s own

          cynical gamesmanship.

                                                        CONCLUSION

                   For the foregoing reasons, defendant’s motion to dismiss for general delay pursuant to

          CPLR 3404 and 3216 should be denied in its entirety. Alternatively, the Court should delay a

          decision on the Motion until after the Bankruptcy Court has decided the motion to dismiss the

          bankruptcy case. As noted herein, after the distraction of the motion to dismiss the bankruptcy

          case is behind us (which is expected on October 30, 2020), the Trustee hopes that global settlement

          discussions with Sagi regarding numerous issues and claims could be pursued. If informal

          settlement discussions do not work, the Trustee would be pleased to appear at either a special

          mediation conference or pretrial conference in early November 2020, to the extent the Court deems




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                                                           22 of 23
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          19-13895-jlg
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                                                           Pg 42 of 44



          appropriate. A trial on damages may ultimately be required, but the Trustee respectfully submits

          a pretrial conference would, at the very least, be appropriate in advance of any such trial.

          Dated: New York, New York
                 September 14, 2020
                                                            TARTER KRINSKY & DROGIN LLP
                                                            Attorneys for Deborah J. Piazza,
                                                            Successor Chapter 7 Trustee

                                                            By:___/s/Rocco A. Cavaliere ____________
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                                                              Pg 43 of 44


                                 SUPREME COURT OF THE STATE OF NEW YORK
                                           NEW YORK COUNTY
          PRESENT:             HON. BARBARA JAFFE                                              PART               IAS MOTION 12
                                                                                    Justice
          ---------------------------------------------------------------------------------X
                                                                                               INDEX NO.          100697/2008
           ORLY GENGER,
                                                                                               MOTION DATE
                                                       Plaintiff,
                                                                                               MOTION SEQ. NO.           054
                                               -v-

                                                                                                  DECISION + ORDER ON
           SAGI GENGER,                                                                                 MOTION
                                                       Defendant.
          ---------------------------------------------------------------------------------X

          The following e-filed documents, listed by NYSCEF document number (Motion 054) 954-973
          were read on this motion for                                                 dismiss for lack of prosecution            .

                    By notice of motion dated August 31, 2020, defendant moves pursuant to CPLR 3404 for

          an order dismissing this action as abandoned, or in the alternative, pursuant to CPLR 3216, for

          an order dismissing this action for want of prosecution. He alleges that more than a year has

          passed since a court-ordered mediation conference was held on August 5, 2019 at which plaintiff

          did not appear. Plaintiff opposes.

                    DRSR[QN[aj` NYYRTNaV\[ aUNa Z\_R aUN[ N eRN_ ]N``RQ dVaU\ba ]_\`RPbaV\[ of this case by

          the bankruptcy trustee fails to account adequately for the =\cR_[\_j` suspension of deadlines

          from March 2020 to November 4, 2020 due to the COVID19 pandemic. Moreover, that there

          was no appearance for plaintiff on August 5, 2019 is irrelevant to whether she abandoned the

          action within the meaning of CPLR 3404, as the case UN` _RZNV[RQ NPaVcR \[ aUR P\b_aj` Q\PXRa

          this entire time and had neither been marked off nor struck. Thus, there is nothing to restore. Nor

          does defendant demonstrate that there was an intentional failure to appear on August 5.

                    The applicability of CPLR 3126 here is also questionable. (See ,EH+ JR`aj` BP@V[[Rej`


           100697/2008 Motion No. 054                                                                               Page 1 of 2




                                                                         1 of 2
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          19-13895-jlg
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                                                      Pg 44 of 44



          Forms Civil Practice Law and Rules § 5:250 [delay in prosecuting does not alone provide ground

          for dismissal for want of prosecution; court may not, either sua sponte or on motion, dismiss

          coZ]YNV[a ZR_RYe QbR a\ QRYNe5 _NaUR_& ]YNV[aVSS Zb`a UNcR hSNVYRQ a\ aNXR `\ZR _R^bV_RQ NPaV\[&

          ]b_`bN[a a\ N QRZN[Q& Oe N `]RPVSVRQ QNaR5i YNPUR` Q\R` [\a _R]YNPR QRZN[Q ZNQR ]b_`bN[a

          to CPLR 3216 and will not necessarily lead to dismissal]). Even if CPLR 3216 applies in these

          circumstances, again, defendant fails to account adequately for the suspension of deadlines

          referenced above. There is thus no basis for finding that plaintiff unreasonably delayed

          prosecution of this matter.

                  =VcR[ aUV` _R`bYa& QRSR[QN[aj` _RZNV[V[T P\[aR[aV\[` [RRQ [\a OR NQdressed. Accordingly,

          it is hereby

                  DF:;F;:& aUNa QRSR[QN[a GNTV =R[TR_j` Z\aV\[ V` QR[VRQ V[ Va` R[aV_Rae; and it is further

                  ORDERED, that the parties, within 30 days of the date of this order, jointly contact the

          court by email to cpaszko@nycourts.gov to schedule the trial.



                  11/13/2020
                    DATE                                                            BARBARA JAFFE, J.S.C.
           CHECK ONE:                    CASE DISPOSED                  X   NON-FINAL DISPOSITION

                                         GRANTED          X    DENIED       GRANTED IN PART            OTHER

           APPLICATION:                  SETTLE ORDER                       SUBMIT ORDER

           CHECK IF APPROPRIATE:         INCLUDES TRANSFER/REASSIGN         FIDUCIARY APPOINTMENT      REFERENCE




           100697/2008 Motion No. 054                                                               Page 2 of 2




                                                              2 of 2
